  Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 1 of 9               PageID 77




IRELAND
                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )      Criminal No. 2:20-cr-20090-MSN
                       Plaintiff,             )
vs.                                           )
                                              )      18 USC § 1038(a)(1)
SHANE SONDERMAN,                              )      18 USC § 844(e)
                                              )      18 USC § 875 (b) & (c)
                       Defendant.             )      18 USC § 371
                                              )      18 USC § 2

                  FIRST SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES:

                                            COUNT 1

                                Conspiracy – 18 U.S.C. § 371

                                            Introduction

At all times relevant to this indictment:

      1. The defendant, Shane Sonderman was a resident of Lauderdale County in the

         Western District of Tennessee.

      2. Minor A was a citizen and resident of the United Kingdom.

      3. K.G. was a resident of Oregon.

      4. K.G.’s parents resided in the Northern District of Ohio.

      5. M.H. was a resident of the Middle District of Tennessee.

      6. S.K.K. was a resident of New York.

      7. S.G. was a resident of Virginia.

      8. S.C. was a resident of Michigan.
Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 2 of 9                  PageID 78

 9. Facebook was a company headquartered in California, and the owner of Instagram.

 10. Discord is a social media platform headquartered in California.

 11. TextNow Inc. is an electronic communications service provider with headquarters in

    Waterloo, Ontario, Canada, and a United States component situated in

    Sacramento, California.

 12. “Swatting” is a harassment technique that involves deceiving emergency service

    dispatchers into sending police and emergency response teams to an unwitting third

    party’s residential address when no actual emergency exists. Municipalities and law

    enforcement agencies incur expenses in responding to the purported emergency.

                                Objects of the Conspiracy

 13. Beginning on or about a time unknown to the grand jury, but before August 2019

    and continuing to on or about May 4, 2020, in the Western District of Tennessee

    and elsewhere, the defendant, Shane Sonderman, did knowingly and voluntarily

    conspire and agree with others to commit multiple offenses against the United

    States, namely,

           a.)      to engage in any conduct with intent to convey false and misleading

                 information under circumstances where such information may have been

                 believed, and where such information indicates that an activity has taken,

                 is taking, or will take place that would constitute a violation of Title 18,

                 United States Code, chapters 40, related to explosive materials, and 44,

                 related to firearms, in violation of Title 18, United States Code, Section

                 1038(a)(1)(A);

           b.)      to, with intent to extort from any person any money or thing of value,

                 transmit in interstate and foreign commerce any communication


                                             2
  Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 3 of 9                   PageID 79

                    containing any threat to kidnap any person or injure the person of

                    another, in violation of Title 18, United States Code, Section 875(b);

              c.)      to transmit in interstate and foreign commerce any communication

                    containing any threat to kidnap any person or injure the person of

                    another, in violation of Title 18, United States Code, Section 875(c);

              d.)      to use an instrument of interstate and foreign commerce to willfully

                    make any threat, or maliciously convey false information knowing the

                    same to be false, concerning an attempt or alleged attempt being made

                    or to be made to kill, injure, or intimidate any individual or to unlawfully

                    damage or destroy any building, vehicle, or real or personal property by

                    fire or an explosive, in violation of Title 18, United States Code, Section

                    844(e); and

              e.)      to convey false and misleading information about an emergency

                    situation that would cause armed law enforcement officers and

                    firefighters to respond to non-existent emergencies at the homes of

                    unsuspecting individuals in order to harass and extort something of value

                    from those individuals.

All in violation of Title 18, United States Code, Section 371.

                            Manner and Means of the Conspiracy

The ways, manner, and means by which the defendant and others sought to achieve the

objects of the conspiracy included, but were not limited to, the following:

   14. Defendant Sonderman and his coconspirators established “fake” accounts on

       social media platforms to use in conducting surveillance and to find users with

       simple, catchy, interesting, and descriptive user names that other social media


                                                3
Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 4 of 9              PageID 80

    users might desire to have.

 15. Defendant Sonderman and his coconspirators would identify high-value user

    account names, or “handles,” that could likely be sold to willing buyers on the

    internet, on Instagram, Snapchat, Minecraft, Twitter, and other social media

    platforms.

 16. Defendant Sonderman and his coconspirators would communicate with the person

    who was assigned a high-value handle to see whether the person would voluntarily

    surrender the account name to one of the coconspirators.

 17. When an account owner gave up an account handle, Sonderman and his

    coconspirators would change the password to the account so that the original owner

    could no longer control it, and put the handle up for sale on one of several internet

    forums.

 18. If the owner of a high-value handle refused to surrender it, defendant Sonderman

    and his coconspirators would bombard the owner with repeated phone calls and text

    messages in a campaign of harassment designed to get the owner to change

    his/her position.

 19. Defendant Sonderman and his coconspirators would obtain personal information

    about the owner of the sought-after handle, including the names, addresses, and

    phone numbers of their family members.

 20. As part of the harassment campaign, defendant Sonderman and his coconspirators

    would cause deliveries of unordered food to the owner of the handle and/or his/her

    family members.

 21. As part of the harassment campaign, defendant Sonderman would obtain

    temporary phone numbers and change them frequently, so that their calls and

                                          4
Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 5 of 9               PageID 81

    messages could not be consistently blocked.

 22. As part of the harassment campaign, defendant Sonderman obtained inexpensive

    phones to use in harassment campaigns to obtain social media handles.

 23. As part of the harassment campaign, defendant Sonderman and his coconspirators

    would use a series of temporary email accounts, in part, to obfuscate their identities

    and locations.

 24. As part of the harassment campaign, defendant Sonderman and his coconspirators

    would place calls to emergency service dispatchers or 911 dispatchers, claiming

    that an emergency was in progress at the residence of the owner of the desired

    Instagram handle or at the residence of a member of the owner’s family.

 25. As part of the harassment campaign, defendant Sonderman and his coconspirators

    would open email accounts and phone accounts for one another, so that the

    internet protocol (IP) address used to create the account could not be traced back

    to the location of the actual user of the account.

                                     Overt Acts

 26. In furtherance of the conspiracy and to accomplish the objectives of the conspiracy,

    the defendant, Shane Sonderman, and others committed various overt acts within

    the Western District of Tennessee and elsewhere, including, but not limited to, the

    following:

        a. From in or about December 2019 through April 2020, Sonderman or a

           coconspirator made repeated phone calls to K.G., asking her to give up her

           Instagram account identifier or “handle.”

        b. From in or about December 2019, through April 2020, Sonderman or a

           coconspirator sent repeated messages to K.G., trying to get her to give up

                                          5
Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 6 of 9               PageID 82

           her Instagram handle.

      c. From in or about December 2019 through April 2020, Sonderman or a

           coconspirator caused the delivery of food that had not been ordered or paid

           for to the parents of K.G. in Ohio.

      d. On or about April 13, 2020, a coconspirator committed a “swat,” as described

           above, reporting a house fire at the Stow, Ohio, residence of the parents of

           the individual identified herein by the initials K.G.

      e. On or about April 14, 2020, Sonderman posted the names and addresses of

           K.G. and her parents to Discord channel 657668639138250000.

      f. On or about April 14, 2020, Sonderman or a coconspirator sent a message

           to K.G. that read, “did your parent’s (sic) enjoy the firetrucks?”

      g. On or about December 21, 2019, Sonderman or a coconspirator sent the

           message “do you and your family want more food? Just give the account if

           you don’t respond in 30 minutes the food is coming either way so ignore if

           you choose” to K.G. from the TextNow number ending in -0629

           approximately nine times in five minutes.

      h. On or about December 21, 2019, Sonderman or a coconspirator sent the

           message “text me here when you want it to stop” from the TextNow number

           ending in -0629 approximately nine times in five minutes.

      i.   On or about March 7, 2020, Sonderman or a coconspirator sent the

           message “…gonna need the instagram account…or i will continue to swat

           and harass you and your family.”

      j.   On or about April 13, 2020, a coconspirator placed a call to the fire

           department that was responsible for protecting the location where K.G.’s


                                           6
  Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 7 of 9                 PageID 83

               parents resided, and reported a house fire at the residence with persons

               trapped inside when there was no fire.

          k. On or about April 14, 2020, Sonderman or a coconspirator sent the

               message “did your parent’s (sic) enjoy the firetrucks ?” followed by “i plan on

               killing your parents next if you do not hand the username on instagram (sic)

               over to me” from the TextNow number ending in -5265.

          l.   On or about April 14, 2020, Sonderman or a coconspirator sent the

               message “Hey tell your son/daughter [K.G.] to give me the Instagram handle

               [redacted] and all the harassment to you and your wife will stop.”

          m. On or about April 28, 2020, Sonderman posted the names and addresses of

               M.H. and his family members to Discord channel 704485331952467000.

          n. On or about April 28, 2020, a coconspirator placed a call to Sumner County,

               Tennessee, emergency services, claiming that there had been a shooting at

               M.H.’s residence when there had been no shooting.

          o. In or about August, 2019, Sonderman repeatedly sent text messages, made

               phone calls, sent unordered food deliveries, and gained unauthorized access

               to the Instagram account of S.K.K.

          p. Between August 2019 and March 2020, Sonderman repeatedly sent text

               messages, made phone calls, sent unordered food deliveries, and gained

               unauthorized access to the Instagram account of S.G.

          q. In or about November 2019, Sonderman repeatedly sent unordered food

               deliveries to S.C.

All in violation of Title 18, United States Code, Section 371.

                                          COUNT 2

                                              7
  Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 8 of 9               PageID 84

       On or about April 28, 2020, in the Western District of Tennessee and elsewhere, the

defendant,

                                 SHANE SONDERMAN

engaged in conduct with intent to convey false or misleading information under

circumstances where such information may reasonably be believed, and where such

information indicates that an activity has taken, is taking, or will take place that would

constitute a violation of Title 18 United States Code, chapter 40 (explosive materials), to

wit, the use of pipe bombs to injure and kill a person and destroy real and personal

property; or chapter 44 (firearms), to wit, use or possession of a firearm during a crime of

violence; all in violation of Title 18, United States Code, Section 1038(a), and Section 2.

                                        COUNT 3


       On or about April 13, 2020, in the Western District of Tennessee and elsewhere, the

defendant,

                                 SHANE SONDERMAN

with intent to extort from any person money or anything of value, specifically, an Instagram

account name, knowingly and willfully transmitted in interstate and foreign commerce a

communication containing a threat to kidnap any person or injure the person of another,

namely, the parents of K.G., the owner of the Instagram account name; said

communication was transmitted with the intent that it be viewed as a threat and with the

knowledge that the communication would be viewed as a threat; all in violation of Title 18,

United States Code, Section 875(b), and Section 2.

                                        COUNT 4




                                             8
  Case 2:20-cr-20090-MSN Document 29 Filed 07/09/20 Page 9 of 9               PageID 85

       On or about April 13, 2020, in the Western District of Tennessee and elsewhere, the

defendant,

                                 SHANE SONDERMAN

knowingly and willfully transmitted in interstate and foreign commerce a communication

containing a threat to kidnap any person or injure the person of another, namely, the

parents of K.G., the owner of the Instagram account name; said communication was

transmitted with the intent that it be viewed as a threat and with the knowledge that the

communication would be viewed as a threat; all in violation of Title 18, United States Code,

Section 875(c), and Section 2



                                                 A TRUE BILL:


                                                 FOREPERSON

D. MICHAEL DUNAVANT
UNITED STATES ATTORNEY


DATE




                                             9
